       Case 1:16-cr-00229-BAH           Document 22        Filed 06/24/20     Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                             ) CRIMINAL NO. 16-cr-229 (BAH)
                                                      )
                v.                                    )
                                                      )
 RUBEN OSEGUERA GONZALEZ,                             )
                                                      )
            Defendant.                                )
                                                      )


        UNOPPOSED MOTION FOR SUPPLEMENTAL PROTECTIVE ORDER

       The Government respectfully submits this Unopposed Motion for a Supplemental

Protective Order and requests the Court enter the attached Order.

       On February 28, 2020, the Court entered the parties’ proposed Protective Order to govern

discovery in this case. See Dkt. No. 19. In addition to the terms set forth therein, which will

continue to apply to discovery in this case, the Government requests that the Court order that the

following additional provisions shall apply to the production and maintenance of discovery:

       a.      The Defendant is permitted to employ a third-party litigation support vendor,

identified by Defendant as HLP Integration (hereinafter the “Vendor”), to host discovery

provided by the Government on a cloud-based discovery review platform in order to assist

defense counsel in reviewing discovery;

       b.      Defense counsel will ensure that Vendor uses industry-standard best practices to

maintain the security and confidentiality of discovery provided by the government hosted on

Vendor’s platform or otherwise provided to Vendor;

       c.      Defense counsel will provide a copy of the Protective Order and the Supplemental

Protective Order to Vendor, and Defendant will ensure that any employees of Vendor who have

access to the discovery in the course of their work will be bound by the Protective Order and the
        Case 1:16-cr-00229-BAH          Document 22       Filed 06/24/20      Page 2 of 3




Supplemental Protective Order to the same extent as any other member of the defense team;

       d.      Defense counsel and Vendor will not access Vendor’s cloud-based review

platform for this matter from outside of the United States nor will they provide access to the

platform to any person located outside of the United States;

       e.      To the extent technologically feasible, Vendor will restrict access to the review

platform so that it cannot be accessed by IP addresses based outside of the United States; if not

technologically feasible, Defense counsel will assist the Government in procuring from Vendor,

from time to time, a log of IP addresses that have accessed the review platform, for the sole

purpose of permitting the Government to verify that the discovery review platform has not been

accessed by persons outside of the United States;

       f.      The terms of the Protective Order entered by the Court on February 28, 2020

remain in full force and effect.

                                             Respectfully submitted,

                                             MARLON COBAR, Acting Chief
                                             Narcotic and Dangerous Drug Section
                                             Criminal Division
                                             U.S. Department of Justice

                                      By:           /s/
                                             Brett Reynolds
                                             Anthony Nardozzi
                                             Narcotic and Dangerous Drug Section
                                             Criminal Division
                                             U.S. Department of Justice
                                             145 N Street, NE
                                             Washington, D.C. 20530
                                             (202) 598-2950




                                                 2
       Case 1:16-cr-00229-BAH           Document 22        Filed 06/24/20     Page 3 of 3




                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was sent via electronic mail, to counsel of record for
the defendant, this 24th day of June 2020.

                                                     /s/
                                              Brett Reynolds
                                              Narcotic and Dangerous Drug Section
                                              Criminal Division
                                              Department of Justice




                                                 3
